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 SO ORDERED.

 SIGNED this 09 day of August, 2012.



                                                    ________________________________________
                                                                  Randy D. Doub
                                                          United States Bankruptcy Judge
 ____________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION


 IN RE:

 LEE BRICK & TILE COMPANY,                                  CHAPTER 11
                                                            CASE NO. 12-04463-8-RDD
        DEBTOR


                                             ORDER

        Pending before the Court is the Amended Application for Authority to Compensate Officers

 of the Debtor (the “Amended Application”)1 filed by Lee Brick & Tile Company (the “Debtor”) on

 July 11, 2012 and the Objection of Capital Bank to Applications for Approval of Compensation (the

 “Objection”) filed by Capital Bank on July 13, 2012. The Court conducted a hearing on July 31,

 2012 in Wilson, North Carolina to consider the Amended Application and the Objection.

          Based upon the testimony and other evidence presented at the hearing, the Court approves

 compensation and benefits to Ms. Tretta McNeill Assistant Secretary/Treasurer of the Debtor. As

 to Ms. McNeill, the Court authorizes the following compensation and benefits: a gross monthly

 salary of $4,000.00, annual salary of $48,000.00 which shall include 401k deductions, vision



        1
         The Application for Authority to Compensate Officers of the Debtor was filed on June
 29, 2012 and was later amended by the Amended Application.
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 insurance, accident insurance and dental insurance; a monthly premium payment for life insurance

 for Ms. McNeill in the amount of $160.74; and a disability insurance monthly premium for Ms.

 McNeill in the amount of $3.80; the difference between the cost of health insurance and Medicare

 in the amount of $108.00.

        The Court finds the compensation as set forth above to be reasonable. Therefore, the Debtor

 is ALLOWED to compensate Ms. Tretta McNeill, Assistant Secretary/Treasurer of the Debtor, as

 set out above.


        SO ORDERED.


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